            Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 1 of 12




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8
                                UNITED STATES DISTRICT COURT
9                             NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
10

11

12    FEDERAL TRADE COMMISSION,                       Case No. 3:23-cv-01710-AMO
13                   Plaintiff,                       PLAINTIFF’S REPLY TO
14           v.                                       DEFENDANTS’ OPPOSITION TO
                                                      PLAINTIFF’S MOTION TO STRIKE
15    INTERCONTINENTAL                                DEFENDANTS’ AFFIRMATIVE
      EXCHANGE, INC.                                  DEFENSES
16
      and                                             Hearing: June 22, 2023
17
      BLACK KNIGHT, INC.,                             Time:    2:00pm
18                                                    Place:    Courtroom 10, 19th Floor
                     Defendants.                                450 Golden Gate Ave.
19                                                              San Francisco, CA 94102
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     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
            Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 2 of 12




1                                                  TABLE OF CONTENTS

2    I.     DEFENDANTS’ CONSTITUTIONAL AFFIRMATIVE DEFENSES ARE
            “IMMATERIAL” AND “IMPERTINENT” TO THE SECTION 13(B)
3           ANALYSIS ....................................................................................................................... 2
4           A.        Axon Has No Bearing on Meta Platforms.............................................................. 2
5           B.        Meta Platforms’ Reasoning Applies Here ............................................................. 4

6           C.        The FTC—and Other Federal Agencies—Will Suffer Prejudice If
                      Constitutional Issues Are Considered as Part of the Section 13(b) Analysis ........ 6
7
     II.    DEFENDANTS’ CONSTITUTIONAL AFFIRMATIVE DEFENSES ARE
8           NOT SUFFICIENTLY PLED ........................................................................................ 8

9    III.   CONCLUSION ................................................................................................................ 9

10

11

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     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
                                                i
             Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 3 of 12




1           The FTC explained in its motion why the reasoning in FTC v. Meta Platforms Inc., No.

2    5:22-CV-04325-EJD, 2022 WL 16637996 (N.D. Cal. Nov. 2, 2022)—the most recent Section

3    13(b) case in this district—dooms Defendants’ constitutional affirmative defenses. Mot. (Dkt.

4    95) at 5-8. Rather than face this recent precedent, Defendants misconstrue it with a scant

5    analysis that relies on the (incorrect) assertion that Axon Enterprise, Inc. v. Federal Trade

6    Commission, 143 S. Ct. 890 (2023), overruled Meta Platforms. But Meta Platforms remains

7    good law following Axon, which did not consider whether, in a preliminary injunction action

8    brought under Section 13(b) of the Federal Trade Commission Act, a court should consider

9    constitutional arguments as part of examining the FTC’s likelihood of success and balancing the

10   equities. Here, Defendants’ asserted constitutional affirmative defenses are “immaterial” and

11   “impertinent” to the Court’s narrow inquiry under Section 13(b). See FTC v. Warner Commc’ns

12   Inc., 742 F.2d 1156, 1160 (9th Cir. 1984).

13          Defendants’ attempts to salvage their constitutional affirmative defenses fail for other

14   reasons. Defendants cannot justify why the Court should alter course to hear these defenses—

15   which, as they acknowledge, almost all have a corresponding counterclaim—during the Section

16   13(b) stage of the proceedings, when they previously represented to the Court that they were

17   amenable to hearing the same exact issues after resolution of the FTC’s request for a

18   preliminary injunction. Defendants should not be allowed to circumvent this Court’s scheduling

19   order, or the time provided for the Department of Justice to respond under Rule 12 of the

20   Federal Rules of Civil Procedure, by bootstrapping their constitutional counterclaims into the

21   narrow Section 13(b) inquiry. Defendants also fail to meet basic pleading requirements for their

22   constitutional affirmative defenses.

23          For the reasons below and in the FTC’s motion (Dkt. 95), the Court should grant the

24   FTC’s Motion to Strike Defendants’ First, Second, Third, Fourth, Fifth, Sixth, Seventh, and

25   Eighth Affirmative Defenses.

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     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
                                                1
             Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 4 of 12




1    I.     DEFENDANTS’ CONSTITUTIONAL AFFIRMATIVE DEFENSES ARE

2           “IMMATERIAL” AND “IMPERTINENT” TO THE SECTION 13(B) ANALYSIS

3           Under Rule 12(f) of the Federal Rules of Civil Procedure, a court may “strike from a

4    pleading an insufficient defense or any redundant, immaterial, impertinent, or scandalous

5    matter.” Fed. R. Civ. P. 12(f). As the FTC showed in its motion, Defendants’ constitutional

6    affirmative defenses are immaterial to the FTC’s claims under Section 13(b) of the FTC Act

7    because they have “no essential or important relationship to the claim for relief or the defenses

8    being pleaded,” and they are impertinent because they “do not pertain, and are not necessary, to

9    the issues in question.’” Meta Platforms Inc., 2022 WL 16637996, at *2 (quoting Fantasy, Inc.

10   v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on other grounds, 510 U.S. 517 (1994)).

11   Axon does not alter that analysis in any way. The reasoning of Meta Platforms squarely applies

12   here. Beyond that, while not a requirement for a motion to strike, the FTC will suffer prejudice

13   if Defendants are allowed to, in essence, prosecute their constitutional counterclaims as part of

14   the Section 13(b) proceeding. Defendants previously asserted that they were “amenable to

15   resolution of their counterclaims coming after and trailing the resolution of the FTC’s request

16   for a preliminary injunction – which would allow the preliminary injunction to complete

17   discovery and proceed in the near term.” Dkt. 72 at 18-19. Reversing course at this juncture

18   would complicate and slow down the preliminary injunction proceedings for no good reason, at

19   great cost to the FTC and the public.

20          A.      Axon Has No Bearing on Meta Platforms

21          Just seven months ago, the court in Meta Platforms struck constitutional affirmative

22   defenses that are comparable to the constitutional defenses that Defendants raise here.

23   Defendants attempt to avoid Meta Platforms by arguing that, following the Supreme Court’s

24   decision in Axon, Meta Platforms “no longer provides useful guidance” (Opp. (Dkt. 104) at 11),

25   and by suggesting that the district court in Meta Platforms reached its decision without the

26   benefit of supporting authority (id. at 4-5 (discussing purported lack of “authority” before the

27   court in Meta Platforms)). Defendants are wrong.

28
     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
                                                2
             Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 5 of 12




1           First, Axon in no way disturbs, or is even relevant, to the holding in Meta Platforms.

2    Judge Davila’s decision stated as much: “Axon does not bear upon subject matter jurisdiction in

3    the present case.” Meta Platforms Inc., 2022 WL 16637996, at *3. In Axon, the Supreme Court

4    held that certain types of “existential” constitutional challenges may be heard by district courts,

5    in some circumstances, before the conclusion of a corresponding administrative proceeding.

6    Axon Enterprise, Inc., 143 S. Ct. at 897-900. Unlike the situation in Meta Platforms, or here, the

7    Commission in Axon had initiated proceedings in its administrative court but had not sought a

8    preliminary injunction in federal court. Id. at 899. So there was no ongoing federal proceeding

9    when Axon filed a separate, standalone lawsuit claiming that certain aspects of the

10   Commission’s adjudicative process were unconstitutional. Id. Judge Davila expressly noted this

11   distinction in Meta Platforms, rejecting the FTC’s argument that the Ninth Circuit’s opinion in

12   Axon precluded the court from hearing Meta’s constitutional affirmative defenses: “unlike Axon

13   where the precluded issues were raised offensively by a plaintiff to block underlying

14   administrative proceedings, here, the purportedly precluded issues are raised defensively in

15   response to a complaint filed by the FTC.” Meta Platforms Inc., 2022 WL 16637996, at *3

16   (emphasis in original) (internal citations omitted). Put simply, Axon was, and remains, irrelevant

17   to the Meta Platforms holding.

18          Second, the Meta Platforms decision rested on ample authority that also remains

19   undisturbed following Axon. Meta Platforms, 2022 WL 16637996, at *4-7. These cases support

20   that “merits” in the “likelihood of success on the merits” inquiry under Section 13(b) means the

21   substantive antitrust merits of the FTC’s case—not other procedural or constitutional issues

22   defendants may raise separate from the antitrust issues, such as constitutional attacks on the

23   FTC’s administrative process. 1 “[T]he Court interprets ‘on the merits’ here to mean the action’s

24
     1
25     Defendants repeatedly assert that the FTC has argued that the legal standard is “maintenance of
     the status quo.” Opp. (Dkt. 104) at 3, 4, 11. That, however, is the relief that the FTC seeks under
26   Section 13(b). Dkt. 1 at 37. The FTC has consistently pointed to binding Ninth Circuit law for
     the correct legal standard under Section 13(b). E.g., Dkt. 27 at 3, Dkt. 72 at 14, Dkt. 109 at 4-6.
27   (Continued…)
28
     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
                                                3
             Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 6 of 12




1    Section 7 antitrust merits.” Meta Platforms, 2022 WL 16637996, at *6. Defendants cannot, and

2    do not, explain how Axon changes the antitrust merits analysis under Section 7 of the Clayton

3    Act.

4           Instead, Defendants misconstrue and selectively quote from a statement in Meta

5    Platforms discussing which forum the court should look to when examining likelihood of

6    success: that is, the court’s acknowledgement that the parties had not identified direct

7    authorities on that specific issue. See Opp. (Dkt. 104) at 4-5 (arguing that the Meta Platforms

8    court was “[w]ithout such authority,” and thus this Court should consider their constitutional

9    claims here “in light of Axon”). But the full quotation, and the discussion that follows, makes

10   clear that the Meta Platforms court ultimately concluded other cases supported the FTC’s

11   position: “Although neither party has alerted the Court to any authority directly addressing in

12   which forum ‘ultimate success’ should be measured, the overall weight of case law applying

13   Section 13(b) supports the FTC’s interpretation, i.e., that courts predict likelihood of success on

14   the merits at the FTC’s administrative proceedings.” Meta Platforms, 2022 WL 16637996, at *4

15   (emphasis added). It is simply not true that the court in Meta Platforms lacked authority for its

16   decision.

17          B.      Meta Platforms’ Reasoning Applies Here

18          In Meta Platforms, the court concluded that constitutional affirmative defenses

19   concerning the FTC’s administrative process were immaterial and impertinent to “the narrow

20   review accorded to district courts by Section 13(b).” Meta Platforms, 2022 WL 16637996, at

21   *7. As explained in the FTC’s motion, the reasoning of the Meta Platforms decision applies

22   with equal, if not greater, force to Defendants’ constitutional affirmative defenses here. Mot.

23   (Dkt. 95) at 5-8. In their opposition, Defendants attempt to drum up reasons why their

24
     Indeed, it is Defendants who advance the wrong legal standard, contending that the FTC must
25   show that both “the public and private equities weigh in favor of a preliminary injunction.” Opp.
     (Dkt. 104) at 2 (emphasis added). To be clear, the FTC need show only that the equities support
26
     a preliminary injunction, and in weighing the equities under § 13(b), “public equities receive far
27   greater weight” than private concerns. Warner Commc’ns, 742 F.2d at 1165.

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     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
                                                4
                Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 7 of 12




1    constitutional affirmative defenses are relevant to the Section 13(b) analysis, but their

2    arguments merely rehash ones readily rejected by Judge Davila. This Court should reject them

3    as well.

4                 •   Defendants argue that the Court should evaluate their constitutional affirmative

5                     defenses in determining the likelihood of success because “no respondent has

6                     succeeded in 25 years” in front of the Commission (Opp. (Dkt. 104) at 9), but, as

7                     the court in Meta Platforms explained: “This argument mischaracterizes the

8                     Court’s role in a Section 13(b) request. District courts do not determine

9                     likelihood of success by a statistical calculation of the parties’ odds, but instead

10                    are charged with exercising their independent judgment and evaluating the

11                    FTC’s case and evidence on the merits.” Meta Platforms, 2022 WL 16637996, at

12                    *5 (internal quotation marks omitted).

13                •   Defendants also argue that the “frequency with which Commission decisions

14                    regarding mergers have been overturned when they reach a federal court on

15                    appeal is also relevant to” the likelihood of success (Opp. (Dkt. 104) at 10), but,

16                    as the court in Meta Platforms observed, the Ninth Circuit has “instructed courts

17                    considering a Section 13(b) request to focus on the FTC’s proceedings and

18                    expressly declined to comment on the case’s future disposition following the

19                    FTC’s final decision.” Meta Platforms, 2022 WL 16637996, at *5 (citing FTC v.

20                    Simeon Mgmt. Corp., 532 F.2d 708, 715-17 (9th Cir. 1976)).

21                •   Defendants further contend that their constitutional affirmative defenses bear on

22                    the equities analysis under Section 13(b) because “Defendants would suffer harm

23                    if the Court were to grant the FTC an injunction based on its likelihood of

24                    success in the administrative proceeding without offering Defendants an

25                    opportunity to explain the unconstitutional barriers they face in that very

26                    proceeding.” Opp. (Dkt. 104) at 10. The Meta Platforms court rejected this same

27                    argument: “The private equities considered on a Section 13(b) request are not

28
     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
                                                5
             Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 8 of 12




1                    typically those arising out of the FTC’s administrative proceedings themselves,

2                    but rather the private consequences resulting from the requested injunction.”

3                    Meta Platforms, 2022 WL 16637996, at *6. In any event, private equities receive

4                    less weight than public ones. Id.

5                •   Defendants also assert that their constitutional affirmative defenses bear on the

6                    public equities because the FTC’s administrative process is supposedly

7                    unconstitutional. Opp. (Dkt. 104) at 10. But “courts applying Section 13(b)

8                    consider a narrower set of equities.” Meta Platforms, 2022 WL 16637996, at *6.

9                    “Public equities” include “economic effects and procompetitive advantages for

10                   consumers and effective relief for the commission[.]” Id. (internal citations

11                   omitted). The public equities thus support expeditiously granting a preliminary

12                   injunction should the FTC show that the merger is likely to harm consumers and

13                   competition; Defendants will be able to press their constitutional counterclaims

14                   in due course.

15          C.       The FTC—and Other Federal Agencies—Will Suffer Prejudice If

16                   Constitutional Issues Are Considered as Part of the Section 13(b) Analysis

17          Defendants concede that courts in this district have routinely held that prejudice is not a

18   requirement for a motion to strike. Opp. (Dkt. 104) at 8 n.3; see also Hartford Underwriters Ins.

19   Co. v. Kraus USA, Inc., 313 F.R.D. 572, 575 (N.D. Cal. 2016). (“[A] motion to strike an

20   insufficient affirmative defense does not require a prejudice showing.”); LumaSense Techs., Inc.

21   v. Advanced Eng’g Servs., LLC, No. 20-cv-07905-WHO, 2021 WL 2953237, at *5 (N.D. Cal.

22   July 14, 2021) (same). Nevertheless, the FTC will face significant prejudice from proceeding

23   with an evaluation of Defendants’ constitutional claims as part of the Section 13(b) inquiry, an

24   evidentiary hearing on which this Court has set for July 25-26.

25          Defendants’ constitutional affirmative defenses include claims that would, in essence,

26   render the Federal Trade Commission’s administrative processes unconstitutional and thwart the

27   agency’s ability to both enforce the antitrust law and protect vulnerable consumers from

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     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
                                                6
             Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 9 of 12




1    scammers, false advertising, and data breaches as part of the agency’s consumer protection

2    efforts. These defenses would also affect other agencies that rely on administrative proceedings

3    to protect and serve the public. For this reason, Defendants’ constitutional claims should be

4    evaluated following robust, focused briefing and argument in the context of their

5    counterclaims—as they already agreed (Dkt. 72 at 18-19), and as Federal Rule of Civil

6    Procedure 12 contemplates (Fed. R. Civ. P. 12(a)(2) (providing the United States with 60 days

7    following service on the United States attorney to answer claims against a United States

8    agency)). Otherwise, the FTC will be forced to dedicate significant resources to fighting these

9    broader constitutional issues, while preparing for a preliminary injunction hearing following a

10   highly expedited fact and expert discovery schedule. See Meta Platforms, 2022 WL 16637996,

11   at *7 (“The Court also finds that the FTC would likely be prejudiced by permitting Defendants’

12   . . . defenses to stand, as they would ‘threaten to shift litigation attention . . . towards the FTC’s

13   actions.’”) (internal citations omitted).

14           Defendants, on the other hand, face little prejudice from waiting to have their

15   constitutional claims heard after the preliminary injunction. Indeed, in seeking to have an

16   expedited evidentiary hearing on the FTC’s request for a preliminary injunction—even though

17   the administrative hearing is slated to begin on July 12 and even though Defendants’ voluntary

18   and self-imposed outside closing date is not until November 4, 2023—Defendants argued that

19   approach “may avoid ruling on the substantial constitutional issues raised by the FTC’s

20   administrative proceeding that would be front and center if this Court effectively deferred to

21   that proceeding.” Dkt. 72 at 17. Because the counterclaims and the constitutional affirmative

22   defenses present the same legal issues, 2 Defendants will have full opportunity to argue their

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26   2
      Defendants’ Sixth Affirmative Defense, concerning the Takings Clause, does not have a
27   corresponding counterclaim.

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     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
                                                7
            Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 10 of 12




1    constitutional claims—albeit separately from the Section 13(b) inquiry that this Court will

2    undertake this summer. 3

3    II.    DEFENDANTS’ CONSTITUTIONAL AFFIRMATIVE DEFENSES ARE NOT

4           SUFFICIENTLY PLED

5           Defendants create a false dichotomy between “fair notice” pleading and Bell Atlantic

6    Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009). See Opp.

7    (Dkt. 104) at 14-15. As the court in Meta Platforms explained, however, “[i]n this district,

8    defendants provide ‘fair notice’ of an affirmative defense by meeting the Twombly/Iqbal

9    pleading standard.” Meta Platforms, 2022 WL 16637996, at *2 (citing Goobich v. Excelligence

10   Learning Corp., 2020 WL 1503685, at *2 (N.D. Cal. Mar. 30, 2020) (collecting post-Kohler

11   cases)). Indeed, following Kohler v. Flava Enters., Inc., 779 F.3d 1016, 1019 (9th Cir. 2015),

12   “courts in this district continue to require affirmative defenses to meet” the standard set forth in

13   Twombly and Iqbal. Neo4j, Inc. v. Graph Found. Inc., No. 5:19-cv-06226-EJD, 2020 WL

14   2793577, at *3 (N.D. Cal. May 29, 2020); FTC v. Lending Club Corp., No. 18-CV-02454-JSC,

15   2019 WL 7488991, at *2 (N.D. Cal. Apr. 29, 2019). 4 Under that standard, Defendants’

16   barebones assertions do not pass muster.

17          Even under a more relaxed pleading standard, however, Defendants’ Sixth Affirmative

18   Defense fails. Unlike the Defendants’ other constitutional affirmative defenses, Defendants’

19   Takings defense does not have a corresponding counterclaim to which Defendants can point for

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     3
       Defendants contend that “the Court does not need to conclusively decide the constitutional
21   issues at this stage, as it will when considering Defendants’ counterclaims; it need only decide
     how those issues impact the Court’s two-factor Section 13(b) inquiry.” Opp. (Dkt. 104) at 13.
22
     They, however, fail to square that argument with the law of the case doctrine. See Askins v. U.S.
23   Dep’t of Homeland Sec., 899 F.3d 1035, 1042 (9th Cir. 2018) (“when a court decides upon a rule
     of law, that decision should continue to govern the same issues in subsequent stages in the same
24   case” (quoting Musacchio v. United States, 577 U.S. 237, 244-45 (2016)).
25   4
       Defendants point to a decision by “a court in this District earlier this month” to demonstrate
     otherwise (Opp. (Dkt. 104) at 14), but that decision is over a year old and predates the decision
26
     in Meta Platforms by six months. Cadence Design Sys., Inc. v. Syntronic AB, No. 21-CV-
27   03610-SI, 2022 WL 1320629 (N.D. Cal. May 3, 2022).

28
     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
                                                8
            Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 11 of 12




1    the purported “factual allegations” to support the defense, and the boilerplate assertion that

2    “Granting the relief sought would constitute a taking of Intercontinental Exchange’s property in

3    violation of the Fifth Amendment to the Constitution” (ICE Answer (Dkt. No. 57) at 31; Black

4    Knight Answer (Dkt. No. 58) at 27) is not, contrary to Defendants’ assertions, a “description of

5    that defense” (Opp. (Dkt. 104) at 16 n.8)—much less notice (fair or otherwise) of the defense.

6    In any event, Defendants’ efforts to justify the inadequate pleading of their constitutional

7    affirmative defenses by pointing to their counterclaims simply underscores the substantive

8    overlap—and why Defendants’ position represents a departure from their prior representation to

9    the Court that they were “amenable to resolution of their counterclaims coming after and

10   trailing the resolution of the FTC’s request for a preliminary injunction – which would allow the

11   preliminary injunction to complete discovery and proceed in the near term.” Dkt. 72 at 18-19.

12   Defendants cannot have it both ways.

13   III.   CONCLUSION

14          For the reasons stated above and in the FTC’s Motion (Dkt. 95), the Court should strike

15   with prejudice Defendants’ First, Second, Third, Fourth, Fifth, Sixth, Seventh, and Eighth

16   Affirmative Defenses.

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     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
                                                9
           Case 3:23-cv-01710-AMO Document 116 Filed 06/06/23 Page 12 of 12




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     PLAINTIFF’S REPLY TO DEFENDANTS’ OPP. TO PLAINTIFF’S MOTION TO STRIKE DEFENDANTS’
     AFFIRMATIVE DEFENSES, CASE NO. 3:23-CV-01710-AMO
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